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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                                                  4:12CR00292 JMM

JEREMIE DUKES

                                           ORDER

       Pending is the Government’s Motion to Dismiss Indictment. For good cause shown the

Motion to Dismiss (Docket # 23) is GRANTED. The indictment against Mr. Dukes is

dismissed. The jury trial scheduled for May 6, 2013 is cancelled.

       IT IS SO ORDERED this 1st day of May, 2013.



                                                    _________________________________
                                                    James M. Moody
                                                    United States District Judge
